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                                                                                            United States District Court
                                                                                              Southern District of Texas

                                                                                                 ENTERED
UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS
                                                                                      February 22, 2023
                                                                                              Nathan Ochsner, Clerk

                     Motion and Order for Admission Pro Hac Vice

      Division           Houston                             Case Number               4:23-cv-630

                            Braden Group B.V. and Braden Americas, Inc.


                                                    versus
                      EnergyLink International Inc. and EnergyLink Corporation



           Lawyer’s Name                  Philip K. Chen
                Firm                      Fish & Richardson P.C.
                Street                    One Marina Park Drive
          City & Zip Code                 Boston, MA 02210
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      Licensed: State & Number            Massachusetts Bar No. 703289
       Federal Bar & Number


 Name of party applicant seeks to                Braden Group B.V. and Braden Americas, Inc.
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       2/21/2023         Signed:                           /s/ Philip K. Chen



 The state bar reports that the applicant’s status is:   Active

 Dated:    2/21/23              Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

             2/21/2023
Dated:
                                                             United States District Judge
